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UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Plaintiff, : 1:19-CR-00018 (ABJ)

V.

ROGER JASON STONE, JR., :
Defendants. : FEBRUARY 20, 2020

STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
LIMITED PERMISSION TO INTERVENE

The proposed intervenor, Mr. Michael Cernovich, respectfully moves the Court for
limited permission to intervene in this matter for the purpose of obtaining a juror’s voir dire
identification number and the written jury voir dire questionnaire answers that have been
collected in this case. Mr. Cernovich seeks to obtain the juror voir dire identification
number of MH, who has publicly claimed that she was the jury foreperson in the
above-captioned matter and whose public conduct has raised grave constitutional
concerns regarding the fairness of the jury trial in the instant matter. In light of the grave
constitutional concerns that {J conduct has raised, Mr. Cernovich also seeks
to obtain the written jury voir dire questionnaire answers that have been collected in this
case. He does not seek the name of any other juror at this juncture.

On February 12, 2020, (MG identified herself as the jury foreperson
in the case in a Facebook post. CNN subsequently broke the story of the jury foreperson’s
decision to identify herself. Mr. Cernovich’s reporting was only possible because |

voluntarily chose to disclose her identity as the jury forewoman, thus enabling CNN to

obtain her identity. Had CNN not broken this story, the public would remain in the dark as
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to how the jury selection process works in federal cases, as well as in Mr. Stone’s case
particularly.

While Mr. Cernovich takes no position on whether Mr. Stone’s rights to an impartial
jury were violated, leading criminal defense attorneys and constitutional law scholars led
by law professor Jonathan Turley have argued that Mr. Stone was not tried by a fair and
impartial jury. See Exhibit A. In a manner consistent with the overall public attention in
the instant case and buttressed by the voices of America’s leading legal minds, the public
has engaged in speculation about {J misled the Court about her ability to be fair
and impartial.

Mr. Cernovich, as a journalist and a concerned citizen, respectfully requests the
Court to allow him to exercise his right under the First Amendment to investigate a.
GE conduct by obtaining iM juror identification number during voir dire and her
written answers to the voir dire questionnaire that jurors were required to submit. See
Exhibit B.

Finally, even though Mr. Stone has been sentenced, a motion to intervene is still
procedurally appropriate in the instant case because Mr. Stone may either take a direct
appeal from his conviction or file a motion for post-conviction relief under 28 U.S.C. §
2255 in the instant matter.

STATEMENT OF FACTS

On November 15, 2019, the jury in this matter found Mr. Stone guilty of seven
charges that all relate to highly controversial actions tied to President Donald J. Trump’s
campaign for the United States presidency. Dkt. No. 260. On February 2, 2020, CNN

published a story stating that {J published a private Facebook post that it had
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obtained identifying herself as a juror in Mr. Stone’s case and stating that she supported
the prosecutors. See Exhibit C. Initially, only CNN, its source, and Facebook possessed
the post or any record of it because fs deleted this post and many of her other
posts after she drew media scrutiny regarding whether she lied in her answers to the jury
questionnaire. /d. However, it did not take long for the public to obtain copies and preserve
it.

The post itself is innocent. See Exhibit D. It expresses support for the four federal
prosecutors who tried Mr. Stone’s case and commends them on a job well-done, which
is undoubtedly speech protected by the First Amendment. /d.

However, [ past social media posts were anything but innocent and raise
serious questions about whether she lied to the Court or, at best, was less than candid
about the extent of her social media activities. Research regarding fF background
showed that she had run for Congress as a Democrat and that she had posted extensive
opinions on social media regarding events that bore directly on Mr. Stone’s case,
including a post where she retweeted another person’s argument mocking individuals
who considered Mr. Stone’s arrest to be a show of excessive force on the part of the
government. See Exhibits E & F. She referred to President Trump’s supporters in
another tweet as racists, knowing full well that Mr. Stone had supported President
Trump’s campaign for the presidency as well. See Exhibit G.

During her voir dire on the record, J did not disclose to the Court that she
was an avid critic of President Donald Trump and his supporters including Mr. Stone. She
did not disclose that she specifically discussed Mr. Stone’s arrest on social media as well

as denounced all of President Trump’s associates as being part of a criminal enterprise.
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The Court specifically asked [J in the written voire dire questionnaire if she had
opinions regarding the Special Counsel’s office and work, Question 15-16, and whether
she had written or posted anything for public consumption regarding the investigation into
events surrounding the 2016 presidential election, question 23. See Dkt. 247. Upon
information and belief did not disclose these important points in her answers to
the written questionnaire either.

The proposed intervenor, Michael Cernovich, is a published constitutional law
scholar, journalist, author, filmmaker who has been covering Mr. Stone’s trial. See Exhibit
H — “Intervenor’s Affidavit.” He has produced films including a recent one entitled
“Hoaxed Movie,” which contained a broad range of political perspectives. /d. After CNN
identified (MJ as one of the jurors in Mr. Stone’s trial and when CNN did not
investigate (J social media, Mr. Cernovich himself investigated her social media
and uncovered an extensive social media footprint as described above. /d.

ARGUMENT

“While the Federal Rules of Civil Procedure explicitly allow for intervention, and
describe the conditions under which a court may permit anyone to intervene, the Federal
Rules of Criminal Procedure are silent on the topic.” United States v. Rand, 2016 WL
6304488, at *1 (D. Nev. July 26, 2016). However, “the right to access criminal trials...
plays an integral role in the administration of justice.” Sfephens Media, LLC v. Eighth
Judicial Dist. Court of State ex rel. County of Clark, 125 Nev. 849, 859-860, 221 P.3d
1240, 1248 (Nev. 2009) (citing Press-Enterprise Co. v. Superior Court of California,

Riverside County, 464 U.S. 501, 508 (1984)).

Public access inherently promotes public scrutiny of the judicial process,
which enhances both the fairness of criminal proceedings and the public
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confidence in the criminal justice system.... Even if an individual does not
attend a criminal proceeding, the fact that the public is free to attend
enhances his or her confidence in the system by assuring that established
procedures are followed.... Moreover, public participation derived from
public access advances the quality and integrity of the judicial process.

Id. at 860 (internal citations omitted).

A journalist “often acts as a proxy for the public, advancing the public's
understanding and awareness of the criminal justice system.” /d. at 860 (citing Press-
Enterprise Co. v. Superior Court of California, Riverside County, 464 U.S. 501, 508-09
(1984)). Consequently, courts have allowed journalists to raise freedom of the press
concern under the First Amendment in criminal cases that they are not parties to. See,
e.g., United States v. Aref, 533 F.3d 73, 82 (2d Cir. 2008) (holding “that a motion to
intervene to assert the public’s First Amendment right of access to criminal proceedings
is proper); Radio and Television News Ass'n of Southern California v. United States Dist.
Court. Of Central Cal., 781 F.2d 1443, 1445 (9th Cir. 1986) (holding that a media
organization had standing to intervene in a criminal case to challenge a gag order); United
States v. Loughner, 807 F.Supp.2d 828, 830 (D. Ariz. May 25, 2011).

Furthermore, the First Amendment creates a presumptive right of access to a wide
range of judicial proceedings including voir dire. Press-Enterprise Co. v. Superior Court,
464 U.S. 501 (1984); see also Nixon v. Warner Comme’ns, 435 U.S. 589, 597 (1978)
(‘[C]Jourts of this country recognize a general right to inspect and copy public records and
documents, including judicial records and documents’). The United States Supreme
Court has established a two-factor test to govern whether a particular judicial proceeding
is subject to the First Amendment presumption of access. Press-Enterprise Co. v.

Superior Court of California for Riverside County, 478 U.S. 1, 8 (1986). The first factor is
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“whether the place and process have historically been open to the press and the general
public.” /d. The second factor is “whether public access plays a significant positive role in
the functioning of the particular process in question. /d.

First, the Supreme Court has long established the public’s right to attend voir dire
in multiple decisions. Presiey v. Georgia, 558 U.S. 209, 212 (2010); Press-Enterprise Co.
v. Superior Court, 464 U.S. 501 (1984). These principles extend to jurors’ written voir dire
answers. If they did not, court could totally undermine both the Sixth Amendment right to
a public trial and the First Amendment rights of journalists by conducting voir dire totally
in writing and denying the public access to those written answers. The Supreme Court’s
holdings in Presley and Press-Enterprise, 464 U.S. 501 clearly preempt such a
conclusion. Consequently, the Court should find that the public has a clear historical right
to attend and view voir dire including written responses.

Second, public access plays a significantly positive role in ensuring the integrity of
the voir dire process. The Court, the government, and Mr. Stone’s defense team do not
have the time, the resources, or the inclination to cull through thousands of social media
posts to investigate the background of potential jurors. The collective public led by
conscientious journalist and scholars such as Mr. Cernovich do. Consequently, the great
benefit that the public can contribute to ensure the integrity of the voir dire process is to
bring to the parties’ attention inconsistencies and grave issues of concern that reflect on
the parties’ rights to due process and fair proceedings. The parties can then raise these
concerns to the Court, thus safeguarding their constitutional rights.

GEE sentiments prior to Mr. Stone’s trial raise considerable questions of

public interest regarding voir dire generally as well as in the context of this case. a
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GE conduct in concealing her true sentiments and her prior conduct in the face of direct
questions from the Court may have perverted justice and deprived Mr. Stone of his right
to a fair and impartial jury. The public has a constitutional right to know whether public
trials are being conducted consistently with constitutional requirements. Mr. Cernovich’s
vigorous and conscientious journalism has raised significant questions as to whether Mr.
Stone received a fair jury trial.

However, Mr. Cernovich, and the rest of the public, can only speculate right now
as to the answer to the questions he has raised. Mr. Cernovich now seeks answers to his
questions by attempting to obtain the written voir dire answers of the jurors in the instant
case. He is constitutionally entitled to those written answers, and he respectfully requests
the Court to grant his motion to intervene and obtain the questionnaires.

WHEREFORE, it is respectfully requested that the Court grant the proposed
intervenor’s motion.

THE PROPOSED INTERVENOR

By: /s/ Norman A. Pattis /s/

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CERTIFICATE OF SERVICE
| hereby certify that on the date above a copy of the foregoing STATEMENT OF

POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR LIMITED PERMISSION
TO INTERVENE and its accompanying exhibits was filed by mailing a copy to the Clerk’s
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